        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 1 of 25




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANNA K. NUPSON,                             )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )       Civil Action No.: 2:18-cv-02505-NIQA
                                            )
SCHNADER HARRISON SEGAL                     )
& LEWIS, LLP, and BRUCE A.                  )
ROSENFIELD, ESQ.,                           )
                                            )
              Defendants.                   )

                    PLAINTIFF’S STATEMENT OF FACTS
         IN SUPPORT OF PLAINTIFF’S SUPPLEMENTAL RESPONSE TO
     DEFENDANTS MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF
       PLAINTIFF’S CROSS MOTION FOR PARTIAL SUMMARY JUDGMENT

I.     PRELIMINARY STATEMENT

       1.     Plaintiff’s claims against Defendants are described in more detail in Plaintiff’s

Cross Motion for Partial Summary Judgment (“Cross Motion”), filed contemporaneously with

Plaintiff’s Supplemental Response to Defendants’ (Converted) Motion for Summary Judgment.

Plaintiff’s Second Amended Complaint (“SAC”) in this action alleges, in part, that Defendants

Schnader Harrison Segal & Lewis L.L.P. (“Schnader”) and Bruce Rosenfield (“Rosenfield”)

committed legal malpractice and breach of fiduciary duty. These claims arise in part out of

Defendants’ representation of Frances Middleton (“Frances”), Anna’s mother, and John

Middleton, Anna’s brother, in the 2001 GRAT transactions (the “Original GRAT”). In the

Original GRAT transaction, Frances transferred 258,029 of shares of Bradford Holdings, Inc.

(“BHI”) stock owned by Frances, but restricted by several agreements, to a grantor restricted

annuity trust whose sole beneficiaries after a two year annuity period were Anna’s brother, John

Middleton and his family. The BHI stock transferred to John was worth between $50,000,000 and



                                                1
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 2 of 25




$1,000,000,000. As is alleged in the SAC, this transfer violated the restrictions imposed by several

Middleton Family agreements. Defendants structured the Original GRAT and represented Frances

and John in the Original GRAT transaction, despite the fact that this transfer of assets to John alone

was directly against Anna’s interests, and despite the fact that Anna was then a current client of

Schnader and Mr. Rosenfield. Defendants had a duty to disclose their representation to Anna and

seek her informed consent. They did neither. In addition, the Original GRAT was purportedly

later modified (the “Modified GRAT”) in connection with the 2003 MSA.                  Schnader and

Rosenfield jointly represented Anna and Frances in the 2003 MSA, and, at a minimum, they were

duty bound to disclose to Anna their prior, adverse representation of Frances and John, and the

terms of the Original GRAT transaction. As is explained in more detail below, Defendants

concealed from Anna the existence of the Original GRAT and their role in creating it, until May

1, 2017, when they were forced to reveal both its existence and their role in creating it, by an Order

issued by the Orphans’ Court on March 27, 2017. Plaintiff’s claims are more fully described in

the SAC and in the Cross Motion.

       2.      Defendants contend that Plaintiff’s SAC is barred by the statute of limitations

because, Defendants assert, Anna knew she had claims against Defendants prior to June 15, 2016.

This contention is untrue for the reasons stated in this Statement of Facts (“SOF”). The following

facts demonstrate Plaintiff’s efforts to obtain information regarding Defendants’ representation of

her and Defendants’ actions concealing the true facts from Plaintiff.

II.    STATEMENT OF FACTS

       3.      Mr. Mucci first began representing Anna in November 2013. Second Affidavit of

Courtney Johnson-Vidales attached as Exhibit 111 to this SOF.


1
 Plaintiff’s Exhibits 1 - 10 were filed in connection with Plaintiff’s Motion to Strike, filed on
March 15, 2019. Plaintiff incorporates Exhibits 1 - 10 by reference and request that they be
                                                  2
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 3 of 25




       4.      Immediately after Mr. Mucci began representing Anna, he requested copies of her

files from the Schnader law firm, and one of Schnader’s partners, Bruce Rosenfield, who

represented Anna. Mr. Rosenfield also served as the trustee of a trust that benefited Anna. On

November 24, 2013, Mr. Mucci wrote to Mr. Rosenfield to obtain Anna’s client files and

documents relating to Middleton family trusts. Mr. Mucci’s November 24, 2013 letter requested

copies of several specific documents, as well as “[any] other trust agreements or documents under

which Anna has an interest as a beneficiary, current or contingent, and any trust agreements, non-

judicial settlement agreements, or other documents modifying, altering, or revoking her interests

created by those trust instruments or documents.” This request was broad enough to encompass

all of the documents and client files in Schnader’s and Mr. Rosenfield’s possession relating to their

representation of Anna as lawyers and relating to Mr. Rosenfield’s service as trustee for the trust.

A copy of Mr. Mucci’s November 24, 2013 letter is attached as Exhibit 12 to this SOF.

       5.      Mr. Rosenfield made a partial response to the November 24, 2013 letter by email

dated December 5, 2013. In his email, Mr. Rosenfield provided very general background

information and sent Mr. Mucci copies of a few of the documents he had requested. However,

Mr. Rosenfield did not produce the other documents requested in the November 24, 2013 letter

and he did not produce Anna’s client files. Exhibit 11, Second Affidavit of Courtney Johnson-

Vidales, ¶5. A copy of Mr. Rosenfield’s December 5, 2013 email is attached as Exhibit 13 to this

SOF.

       6.      Neither Mr. Rosenfield’s December 5, 2013 email, nor any of the documents

produced by Mr. Rosenfield, disclosed the existence of the Original GRAT, or Schnader’s and Mr.

Rosenfield’s role in creating it. Exhibit 11, ¶5; Exhibit 13.


included in the record on Defendants’ pending Motion for Summary Judgment and Plaintiff’s
Cross Motion.
                                                 3
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 4 of 25




       7.      On December 17, 2013, Mr. Mucci again wrote to Mr. Rosenfield and again asked

for copies of Anna’s files. A copy of Mr. Mucci’s December 17, 2013 letter is attached as Exhibit

14 to this SOF.

       8.      As of January 27, 2014, Mr. Mucci had still not received Ms. Nupson’s files from

Mr. Rosenfield or the Schnader law firm. Mr. Mucci again wrote to Mr. Rosenfield to follow up

on the request for a copy of Anna’s files. At that time, eight weeks had passed since the original

request, and the January 27, 2014 letter therefore asked for a response by the end of business on

February 6, 2014. A copy of Mr. Mucci’s January 27, 2014 letter is attached as Exhibit 15 to this

SOF.

       9.      On February 12, 2014, Wilbur Kipnes, Mr. Rosenfield’s law partner at Schnader,

responded to Mr. Mucci’s letters to Mr. Rosenfield. Mr. Kipnes’ letter first stated that “Bruce

Rosenfield is not a litigator” and then proceeded to state that some of the documents in Schnader’s

possession would not be produced because they might be privileged. Mr. Kipnes’ letter stated:

               The file contains in excess of 4,000 pages. For the purposes of your request
               on Anna's behalf, Schnader represents only Anna. As you noted in your
               December 17, 2013 letter, the firm has had a decades-long relationship with
               the Middleton family. We have represented Herbert Middleton and his
               Estate, Fran Middleton, and John Middleton. As a result, there may be
               documents in the firm's file on the 1994 Anna Trust that are privileged as to
               someone other than Anna. As you know, the privilege belongs to the client.
               Since we do not currently represent any of them with regard to the 1994 Anna
               Trust, I concluded that it was not appropriate for Schnader to make decisions
               regarding privilege. I also concluded that, as a matter of professional
               courtesy, it was appropriate to afford their counsel the opportunity to review
               documents involving their clients before we produce them. Therefore, we
               extracted from the firm's file all communications with Herb, Fran, or John,
               or their counsel, and will send them to current counsel at Cozen O'Connor.
               *      *       *
               I have enclosed a CD containing the 3,939 pages of documents we are
               producing now. When we hear back from counsel at the Cozen firm, we will
               make a supplemental production. To the extent they assert a privilege, we
               will provide a log as you requested.

                                                4
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 5 of 25




       10.     With his February 12, 2014 letter, Mr. Kipnes produced a CD containing a portion

of the requested files. A copy of Mr. Kipnes’ February 12, 2014 letter is attached as Exhibit 16 to

this SOF.

       11.     The CD produced with Mr. Kipnes’ February 12, 2014 letter (“Schnader CD”)

contained an ad hoc collection of documents, including administrative documents such as check

requests and requests for distributions to medical providers. The documents were not Anna’s client

file. The documents produced did not respond to Mr. Mucci’s request that the Schnader law firm

and Mr. Rosenfield produce copies of all of Anna’s client files and all files relating to Mr.

Rosenfield’s service as trustee for the trusts that benefited Anna. Nothing in the Schnader CD

disclosed the existence of the Original GRAT, or Schnader’s and Mr. Rosenfield’s role in creating

it. Exhibit 11, ¶6; Exhibit 16.

       12.     Three weeks later, by letter dated March 6, 2014, Mr. Kipnes asked that Anna and

Mr. Mucci agree to be bound by a Confidentiality Agreement for the documents already produced

on the Schnader CD and asked that he destroy the Schnader CD. Mr. Kipnes stated that he believed

that some of the documents produced on the Schnader CD should have been redacted before

production. A copy of Mr. Kipnes’ March 6, 2014 letter is attached as Exhibit 17 to this SOF.

       13.     Mr. Kipnes subsequently sent Mr. Mucci a replacement CD (“Replacement CD”).

No additional documents were included on the Replacement CD. Again, none of the documents

contained on the Replacement CD disclosed the existence of the Original GRAT or Schnader’s

and Mr. Rosenfield’s role in creating it. Exhibit 11, ¶6.

       14.     On April 8, 2014, Mr. Mucci again wrote to Mr. Rosenfield to follow up on the

documents he had previously requested that were not included with the documents produced on



                                                 5
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 6 of 25




the Replacement CD. A copy of Mr. Mucci’s April 8, 2014 letter is attached as Exhibit 18 to this

SOF.

       15.     Mr. Rosenfield responded by letter dated April 11, 2014. Mr. Rosenfield refused to

produce some of the requested documents because he believed Mr. Mucci already had them, and

refused to produce others because Schnader did not represent Frances “in the later years of her

life” and believed another law firm should decide whether the requested documents should be

produced. Mr. Rosenfield refused to produce other documents because, he asserted, Anna was not

a beneficiary of one of the trusts in question. A copy of Mr. Rosenfield’s April 11, 2014 letter is

attached as Exhibit 19 to this SOF.

       16.     Mr. Mucci continued to request that Schnader and Mr. Rosenfield produce Anna’s

client files and all documents relating to any trusts in which Anna had an interest. Schnader and

Mr. Rosenfield continued to refuse to produce the requested documents. See May 6, 2014 letter

from Mr. Kipnes attached as Exhibit 20, and Mr. Mucci’s June 23, 2014 letter to Mr. Kipnes,

attached as Exhibit 21 to this SOF.

       17.     Mr. Rosenfield and Schnader had represented Anna for decades and continued to

represent her until Anna terminated the representation by letter dated September 11, 2014 and

asked for a complete and unredacted copy of her files. A copy of Anna’s September 11, 2014

letter to Mr. Rosenfield is attached as Exhibit 22 to this SOF.

       18.     By letter dated September 15, 2014, Mr. Kipnes stated that Schnader would not

produce documents relating to the 1994 Anna Trust, based on Schnader’s assertion that these

documents were covered by the Schnader’s attorney client privilege with Herbert Middleton,

Anna’s father. In addition, Mr. Kipnes stated that Schnader would not produce documents relating




                                                 6
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 7 of 25




to the 2001 GRAT2 for the period from 2001 to 2003, because, Mr. Kipnes asserted, Anna was not

a current beneficiary or trustee during that time period. In addition, Schnader refused to produce

documents for the 2001 GRAT for the period from 2003 to 2005. A copy of Mr. Kipnes September

15, 2014 letter is attached as Exhibit 23 to this SOF.

       19.     As of September 14, 2014, the only documents produced by the Schnader law firm

and Mr. Rosenfield were the documents contained on the Replacement CD produced in March

2014, and the few documents provided with Mr. Rosenfield’s December 5, 2013 email. Schnader

had still not produced all of Anna’s client files, as Mr. Mucci had repeatedly requested beginning

in November 2013, and Schnader had not produced all documents relating to the trusts. None of

the documents produced by Schnader or by Mr. Rosenfield disclosed the existence of the Original

GRAT. Exhibit 11, ¶7.

       20.     On April 7, 2015, John, individually and as former trustee of the Modified GRAT,

filed a Petition for Declaratory and Other Relief (“John’s Petition”) in the Orphans’ Court, seeking

a judicial determination that Court approval was not required for the transactions involved in the

2003 MSA. Exhibit 24.

       21.     Discovery is not permitted in Orphans’ Court proceedings except by Order of the

Orphans’ Court. On June 23, 2015, counsel for Anna filed a Petition for Discovery to obtain

additional information and documents necessary to respond to John’s Petition. A copy of the

Petition for Discovery is attached as Exhibit 25 to this SOF.



2
  As noted throughout, prior to May 1, 2017, neither Schnader nor Mr. Rosenfield disclosed the
existence of the Original GRAT. Mr. Kipnes’ refusal to produce documents for the period from
2001 to 2003 meant that Schnader was refusing to produce documents that might have uncovered
what Schnader was concealing, but the depositions of Mr. Rosenfield, Mr. Kipnes and Roy Ross,
the Schnader lawyer who drafted the Original GRAT, will be necessary to determine precisely
what could have been learned had Schnader produced all documents relating to the 2001 GRAT
when Plaintiff first requested them.
                                                 7
          Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 8 of 25




         22.     On January 14, 2016, counsel for Anna in the Orphans’ Court filed a Petition for

Declaratory Relief and for an Accounting (“Petition”) in connection with the Modified 2001

GRAT.3 Among other relief, the Petition sought the production of records relating to the Modified

2001 GRAT that Schnader and Mr. Rosenfield had repeatedly refused to produce. A copy of the

Petition is attached as Exhibit 26 to this SOF.

         23.     Schnader filed an Objection to the Petition on February 18, 2016 on behalf of Mr.

Rosenfield (“Rosenfield Objection”), which was verified by Mr. Rosenfield. The Rosenfield

objection opposed the relief sought in the Petition and opposed the production of the documents

sought in the Petition. A copy of the Rosenfield Objection is attached as Exhibit 27 to this SOF.

         24.     The Rosenfield Objection also alleged, under oath, that the Modified GRAT was

unambiguous and “the best evidence of its own content.” In addition, the Rosenfield Objection

did not disclose the Original 2001 GRAT, but instead concealed it. Id.

         25.     As of June 30, 2016, Schnader had still not produced Anna’s client files and the

Orphans’ Court had not yet ruled on the Petition. Exhibit 11, ¶8.

         26.     By Order dated July 18, 2016, the Orphans’ Court granted Anna’s Petition and

ordered Schnader and Mr. Rosenfield to prepare and file with the Court an “Account of his [Mr.

Rosenfield’s] administration of the Trust of Frances S. Middleton [the GRAT], covering the period

from the inception of his service as Trustee to the present, on or before October 5, 2016.” The

Court further ordered Rosenfield to produce, within 60 days, all non-privileged trust administration

documents for the trust for the period in which he served as Trustee, and to provide a privilege log

for any documents not produced.” A copy of the July 18, 2016 Order is attached as Exhibit 28 to

this SOF.



3
    As noted above, and throughout, the Original GRAT had not been revealed at this time.
                                                  8
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 9 of 25




       27.    Other parties to the Orphans’ Court proceedings objected to Plaintiff’s June 23,

2015 Petition for Discovery and the Orphans’ Court entered an Order on September 10, 2015,

directing the parties to jointly prepare a proposed Discovery Order. Additional objections and

motions to compel were filed. Exhibit 9, Affidavit of Courtney Johnson-Vidales.

       28.    No documents were produced in response to Plaintiff’s June 23, 2015 Petition for

Discovery and related discovery requests until August 11, 2016, when John’s counsel produced

the first set of documents. Exhibit 9, Affidavit of Courtney’s Johnson-Vidales.

       29.    Schnader and Mr. Rosenfield never produced the Original GRAT, or any

documents relating to the Original GRAT. Exhibit 11, ¶9. No other party produced the Original

GRAT, or any documents relating to the Original GRAT, until December 23, 2016. Id.

       30.    Pursuant to the Orphans’ Court July 18, 2016 Order, Schnader and Mr. Rosenfield

filed a Petition to Approve Accounting on October 5, 2016 (“Rosenfield Accounting”). A copy of

the Rosenfield Accounting is attached as Exhibit 29 to this SOF.

       31.    The Rosenfield Accounting did not disclose the existence of the Original 2001

GRAT, but instead relied solely on the Modified GRAT. Exhibit 29.

       32.    The Rosenfield Accounting avoided any mention of the Original GRAT and in fact

concealed the Original GRAT. The Rosenfield Accounting states:

              By irrevocable Agreement dated February 1, 2001, (the “Trust
              Agreement”), Frances S. Middleton (“Grantor”) established a grantor
              retained annuity trust with an initial two-year annuity term (the “GRAT”).
              The Trust Agreement, as confirmed by a certain Agreement entered into
              on February 20, 2003 (the “2003 Agreement”) . . . provided that upon
              expiration of the initial two-year annuity term and the payment of the final
              annuity amount to Grantor, the GRAT terminated and the remaining
              balance was to be divided into three equal shares to be held in three
              separate trusts established for the benefit of each of Grantor’s children,
              Mr. Middleton, Ms. Hughes and Ms. Nupson.

       Exhibit 29, p. 3.


                                                9
       Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 10 of 25




       33.     The Rosenfield Accounting was verified by Mr. Rosenfield. Exhibit 29, p. 11.

       34.     The Rosenfield Accounting stated that the Trust Agreement had never been

amended, even though this was untrue. Exhibit 29, p. 3.

       35.     In Orphans’ Court proceedings relating to John’s Petition, John’s counsel filed an

affidavit signed by Schnader partner Roy Ross dated December 23, 2016 (“Ross Affidavit”). A

copy of the Ross Affidavit is attached as Exhibit 30. The Ross Affidavit revealed for the first time

that Schnader had drafted the Original GRAT, but it provided no additional details regarding the

Original GRAT transactions.

       36.     The Ross Affidavit attached an unsigned copy of the Original GRAT. Exhibit 30.

The unsigned copy of the Original GRAT did not reveal what assets, if any, were supposedly

transferred into trust because there was no Schedule A. Id.

       37.     On February 23, 2017, John filed a signed copy of the Original 2001 GRAT in the

Orphans’ Court. Exhibit 31.

       38.      By Opinion and Order dated March 16, 2017, the Orphans’ Court dismissed John’s

Petition sua sponte, finding that the Court had been misled by Schnader and Rosenfield when each

failed to disclose the existence of the Original GRAT; the Court noted John’s Petition had included

only the Modified GRAT, which the Original GRAT had amended in its entirety. A copy of the

Opinion and Order is attached as Exhibit 32.

       39.     The Court also noted it had been misled as to the date on which the Modified GRAT

had actually been signed by Frances (Exhibit 32, Opinion and Order, p. 4), and that the Original

GRAT did not contain language that the sale of stock to John in connection with the 2003 MSA

was authorized “without the need for court approval.” This language, which John’s Petition had




                                                10
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 11 of 25




argued was dispositive of the issues being litigated before the Orphans’ Court, was found only in

the Modified GRAT. Exhibit 32, p. 3-5.

       40.      In dismissing John’s Petition, the Court noted:

               [O]f significant concern, the petition for adjudication filed October
                5, 2016, by Mr. Ross’s law partner, Bruce A Rosenfield, Esquire,
                as trustee, states that there have been no amendments to the trust.
                Mr. Rosenfield executed a verification in which he verified the
                truth and correctness of the facts in the petition. Mr. Rosenfield is
                presumed to be familiar with the disputed 2003 transactions
                including the purported amendment of the Irrevocable 2001 GRAT
                as he represented both Frances and Anna in transactions that
                resulted in the execution of the 2003 Master Settlement Agreement
                and the sale of the BHI stock from the 2001 GRAT trusts. Indeed,
                Mr. Rosenfield personally witnessed the signature of Frances and
                John to the Amended Trust Version signed in February 2003 but
                dated February 1, 2001.

Exhibit 32, Opinion and Order, p. 7 - 8.

       41.     On May 1, 2017, Schnader and Mr. Rosenfield filed an Amended Accounting in

the Orphans’ Court that disclosed the facts concerning the Original 2001 GRAT and the role Mr.

Rosenfield and Schnader played in the Original 2001 GRAT transactions. Exhibit 33.

       42.     In the Amended Accounting, Mr. Rosenfield admitted that his statements in the

Rosenfield Accounting were untrue. The Amended Accounting states:

               Bruce never intended to mislead anyone -- and especially not the
               Court. However, upon consideration of the Court’s March 16, 2017
               Opinion and Order, Bruce recognizes that it would have been more
               informative if Bruce had reported and described the modification or
               reformation of the Original Trust Agreement in the Original Petition
               for Adjudication of his account of the 2001 Trust for Anna and
               apologizes for not having done so.

Exhibit 33, Rider I, pp. 7-8.

       43.     The Amended Accounting revealed that: Mr. Rosenfield had represented Frances

and John beginning in 1999 and continuing to late 2000 in planning for the creation of an inter



                                                11
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 12 of 25




vivos trust to transfer Frances’ BHI shares to John; that Mr. Rosenfield prepared and forwarded

trust documents to accomplish this transfer to Frances and John for their review over the ensuing

several months; that Frances signed the Original Trust Agreement [Original GRAT] on November

19, 2001; and that the Original GRAT was backdated to February 1, 2001. Exhibit 33, Rider I, pp.

1-2.

       44.     The Amended Accounting also revealed that sometime after March 2002, Lucia

Hughes (John’s and Anna’s sister) learned about the Original GRAT and accused John of exerting

undue influence over Frances and demanded that Frances change the Original GRAT to benefit

Lucia and her family. Exhibit 33, Rider I, p. 2.

       45.     None of the documents produced by Schnader or by Mr. Rosenfield prior to the

May 1, 2017 Amended Accounting disclosed the existence of the Original 2001 GRAT or

Defendants’ role in it. Exhibit 11, ¶9.

       46.     Defendants contend that Exhibits B through G filed in support of Defendants’

Motion to Dismiss establish that Plaintiff was aware of Defendants’ legal malpractice in June 2014

or in June 2015. This is not true.

       47.     The claims raised in the SAC are based on Defendants’ concealment of the Original

GRAT transactions and Defendants’ directly adverse representation of Frances and John in the

Original GRAT transaction, and their concealment of their representation of Frances and John in

the 2001 GRAT I transaction.

       48.     Defendants’ arguments rest on the misleading assertion that Exhibits B through G

establish that Plaintiff was aware of this prior, adverse representation in June 2014 or June 2015.

A review of the complete record belies Defendants’ assertions.




                                                   12
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 13 of 25




       49.     Defendants’ Exhibit B is a June 5, 2014 letter (“June 5 letter”) Mr. Mucci wrote to

Larry Laubach, counsel to John Middleton. Defendants contend that the June 5 letter constitutes

an admission that Plaintiff was aware of the claims asserted in the SAC four years before the initial

Complaint in this action was filed. This is incorrect.

       50.     As is discussed in detail above, Defendants concealed the Original GRAT and their

role in the Original GRAT transaction until May 1, 2017.

       51.     In addition, Mr. Mucci’s June 5 letter does not even mention the conduct which

forms the basis for the SAC. Nor could it have done so-- again, the SAC is based on Defendants’

representation of Frances and John in the Original GRAT I transaction, and their concealment of

the Original GRAT transaction, under which Frances transferred 258,029 shares of Bradford

stock, worth between $52,895,945 and $1,000,000,000, to a trust for John’s sole benefit, excluding

Plaintiff and her sister Lucia, and in violation of controlling Middleton family agreements. These

facts were concealed by Defendants, and Plaintiff had no way of learning them until they were

revealed by Defendant Rosenfield when he filed an Amended Accounting in the Orphans’ Court

on May 1, 2017.

       52.     The June 5 letter had nothing to do with the hidden 2001 Original GRAT

transactions which form the basis of the present litigation. Instead, the June 5 letter focused on a

1998 assignment of principal distributions (“1998 Assignment”) from the 1972 Herbert Sr. Trust,

the 1982 John Middleton, Inc. Trust and the 1990 Herbert Jr. and Frances Trust (collectively the

“Family Trusts). These claims are wholly separate and apart from the claims asserted in the SAC.

This is made clear by related, contemporaneous correspondence immediately preceding and

following the June 5 letter. A review of the relevant correspondence shows that Defendants have

selected only one of many letters in an effort to support their position.



                                                 13
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 14 of 25




       53.        When all of the correspondence is considered, three things become clear: 1) the

dispute over the 1998 Assignment had nothing to do with the claims asserted in the SAC; instead,

the focus was on the Family Trusts and Plaintiff’s counsel’s efforts to obtain information, both

from Defendants (who were still serving as Plaintiff’s lawyers) and from other parties; 2) Plaintiff

was diligently attempting to obtain documents and information concerning her rights under the

Family Trusts; and 3) Plaintiff’s efforts were met with delay and unnecessary obstacles.

       54.        The June 5 letter was preceded by Mr. Mucci’s May 19, 2014 letter to Larry

Laubach and Bruce Rosenfield. See Exhibit 1. The May 19 letter focused on the 1998 Assignment

and, like the June 5 letter, does not mention the concealed 2001 GRAT I transactions. Instead, the

May 19 letter expressly stated that Ms. Nupson’s “primary concern is a 1998 assignment of

principal distributions from the 1972 Herbert Sr. Trust, the 1982 John Middleton, Inc. Trust, and

the 1990 Herbert Jr. and Frances Trust.” Exhibit 1, p. 1.        The May 19 letter asked for Mr.

Middleton’s assistance in retrieving distributions from the Family Trusts. Exhibit 1, p. 2. These

issues have nothing to do with the claims asserted in the SAC.

       55.        Other communications followed, all of which make clear that the then existing

dispute involved the 1998 Assignment and attempts to obtain additional documents and

information about the Family Trusts so Ms. Nupson could better understand her rights. Exhibit 2

is a June 9, 2014 email Mr. Mucci wrote to Mr. Laubach discussing a proposal to file an accounting

so that Anna could file an objection to the 1998 Assignment and requesting additional documents

from her files.

       56.        Exhibit 3 is a June 23, 2014 letter Mr. Mucci wrote to Wilbur Kipnes discussing

the production of documents from Ms. Nupson’s files.




                                                 14
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 15 of 25




       57.     Exhibit 4 is a July 16, 2014 letter Mr. Mucci wrote to Messrs. Kipnes, Laubach and

Arthur Solmssen discussing production of documents from Ms. Nupson’s files.

       58.     Exhibit 5 is an August 19, 2014 letter Mr. Mucci wrote to John Middleton, ℅ Mr.

Laubach requesting distribution of principal from the Family Trusts.

       59.     Exhibit 6 is a September 15, 2014 letter from Mr. Kipnes to Mr. Mucci responding

to the request for additional documents. In that letter, Mr. Kipnes states that Schnader would not

produce documents related to the 2001 GRAT, his words carefully parsed to continue Schnader’s

concealment of the existence of the Original GRAT. As Mr. Kipnes states, “[A]s Ms. Nupson was

not a current beneficiary of the 2001 Trust during the period of 2001 to 2003, we do not believe

she is entitled to review documents relating to the administration of the trust during that period.”

       60.     Exhibit 7 is a September 5, 2014 letter from Mr. Mucci to Mr. Middleton, ℅ Mr.

Laubach requesting distribution of principal from the Family Trusts.

       61.     Exhibit 8 is an October 3, 2014 letter Mr. Mucci wrote to Mr. Middleton ℅ Mr.

Laubach again requesting distribution.

       62.     All of these communications dealt with the 1998 Assignment, distributions of

principal from the Family Trusts, and Mr. Mucci’s attempts to obtain Anna’s client files from

Defendants. None of these communications has anything to do with the claims asserted in the

SAC. Exhibits 5, 6, 7 and 8; SAC. Understood in context, then, it is clear that the June 5 letter

does not relate in any way to the claims asserted in the SAC.

       63.     Indeed, exhibit 2 makes crystal clear that the “litigation” mentioned Mr. Mucci’s

June 5, 2014 letter related solely to the 1998 Assignment and the related Family Trusts, and had

nothing to do with legal malpractice claims against the Schnader law firm or Mr. Rosenfield.




                                                 15
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 16 of 25




Exhibit 2 also makes clear that any talk of litigation quickly dissipated. Exhibit 2 is an email from

Mr. Mucci to Mr. Laubach and was written following a telephone call between them. It states:

               Thank you for your phone call today. As we discussed, I will not be
               filing anything with the Pennsylvania courts this week. I have spoke[n]
               with my client regarding your proposal for the filing of an accounting
               to provide an opportunity for my client to object to the invalid 1998
               Assignment. As we discussed, my client will not approve the filing of
               any accounting at this time.
                                             *       *       *
               I enjoyed the collegial nature of our conversation. I look forward to
               maintaining such a cordial relationship and resolving the roadblocks
               outlined above.


       64.     Thus, far from establishing that Plaintiff was ready in 2014 to file the claims

asserted in the SAC against Defendants, the facts show that Anna’s counsel was attempting to

resolve other issues that had nothing to do with the claims asserted in the SAC.

       65.     Defendants’ Exhibits C, D, E, F and G are excerpts from a few of the pleadings

filed in the Orphans’ Court proceedings. Defendants assert that these excerpts establish that

Plaintiff was aware of Defendants’ conflicts of interest, legal malpractice, and breach of fiduciary

duty when the pleadings were filed in the Orphans’ Court in June 2015.

       66.     This is not true. In June 2015, the Orphans’ Court proceedings were in an early

stage and discovery efforts had just commenced. This is made clear by Exhibit F, Ms. Nupson’s

June 23, 2015 Petition for     Discovery. In the Petition for Discovery, Ms. Nupson requested

permission from the Orphans’ Court to conduct needed discovery on several “disputed facts”:

             18. The disputed facts and areas in which discovery is needed involve
             the following matters:
                           *        *      *
             (f) whether Bruce A. Rosenfield, Esq. had conflicts of interest while
             purporting to represent Anna Nupson in the above transactions that
             prevented him from reasonably concluding that [sic.] could zealously
             represent Ms. Nupson, or worse, whether Mr. Rosenfield remained the
             agent of John S. Middleton in structuring this transaction to accomplish


                                                 16
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 17 of 25




             Mr. Middleton’s goal of consolidating his ownership and control of all of
             the Bradford stock to prepare for the sale of the family’s cigar
             manufacturing business.

Defendants’ Exhibit F at 4 (emphasis added).

       67.     The Petition for Discovery shows that counsel for Ms. Nupson were seeking

discovery to determine whether Defendants had conflicts of interest. The facts that could be

learned from this discovery would inform counsel’s decision as to whether Defendants had

committed legal malpractice as a result of any conflicts of interest. The Petition for Discovery does

not establish that counsel for Ms. Nupson knew that Defendants had conflicts or that they had

committed malpractice in June 2015. Exhibit 10, Affidavit of Jeffrey L. Baker, p.2.

       68.     The remaining excerpts from the Orphans’ Court proceedings must also be read in

context. All were filed at or around the same time as the Petition for Discovery. See Exhibit C

(Counterclaim and Petition for Declaratory and Other Relief, filed June 23, 2015), Exhibit D

(Answer and New Matter Petition for Declaratory Relief and Other Relief of John S. Middleton

and Bradford Holdings. Inc., filed June 23, 2015), Exhibit E (Anna K. Nupson’s Response to John

Middleton’s Motion to Strike, filed May 20, 2015) and Exhibit G (Anna K. Nupson’s Answer to

John S. Middleton’s Motion for Sanctions, filed June 29, 2015). In each case, counsel was stating

what he believed may have been the case but were at the same time seeking discovery to determine

whether that belief was supported by sufficient facts to act. This is what the legal process and

professionalism require. Exhibit 10, Affidavit of Jeffrey L. Baker, p.3.

       69.     Exhibit C, a pleading in one of the Orphans’ Court proceedings, alleges “[o]n

information and belief, Bruce A. Rosenfield, Esq. continued to represent John S. Middleton as

trustee of the 2001 GRAT and other Middleton Trusts throughout these negotiations” and “[o]n

information and belief, Bruce A. Rosenfield, Esq. did not make any disclosures and consultations



                                                 17
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 18 of 25




to any of the beneficiaries relating to limitations on his representation due to his prior

representations or personal interests pursuant to Rule 1.7(b).” Defendants’ Exhibit C at p. 3, para.

42 and p. 4, para. 45 (emphasis added).

       70.      Exhibit D is another Orphans’ Court pleading, also filed on June 23, 2015,

answering the allegations made in John S. Middleton’s Petition for Declaratory Relief, which

sought a declaratory judgment that some of his prior actions as Trustee did not require court

approval. In this pleading, Ms. Nupson denied John’s allegation that “Bruce A. Rosenfield was

her independent counsel and/or that she was properly advised or represented by Mr. Rosenfield.

Defendants’ Exhibit D at p. 4, para. 64.

       71.      Defendants’ Exhibit E is no different. It was also filed at or around the same time

as the other Orphans’ Court pleadings, early in the proceedings, with discovery still incomplete

and ongoing, and before the facts were revealed that form the basis for Plaintiff’s claims.

       72.      Exhibit G underscores that counsel for Ms. Nupson needed, and was seeking,

additional discovery to understand the facts necessary to represent their client:

                                        Incomplete Discovery
             It must be noted that discovery is incomplete. While informal discovery
             has been produced (some of which was inappropriately redacted),
             additional discovery is needed . . .. Discovery is also needed to more deeply
             understand the role of Attorney Bruce A. Rosenfield in the 2003 Master
             Settlement Agreement and his relationship before during and after the sale.

Defendants’ Exhibit G, p. 2.

       73.      In the excepted pleadings offered by Defendants, counsel for Ms. Nupson were

asserting what they believed the evidence might be, but they were simultaneously pursuing

discovery to learn whether there were sufficient facts on which to proceed. It is important to note

that none of the excerpted pleadings stated claims against Defendants, who were not parties to the

Orphans’ Court proceedings. Instead, the pleadings, from which Defendants’ exhibits were


                                                  18
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 19 of 25




excerpted, were initial pleadings, filed in response to pleadings filed by John Middleton in

proceedings between Mr. Middleton and Ms. Nupson.

       74.     Exhibits C-G show that in June 2015, Plaintiff knew only that Defendants had

represented various members of the Middleton family and the family businesses over the course

of several years. No specific representations are identified in Exhibits C-G and specific conflicts

of interest are identified in Exhibits C-G. Exhibit 10, Affidavit of Jeffrey L. Baker. Knowledge

that a lawyer had represented individual members of a family in various matters by itself is not

sufficient by itself to conclude that the lawyer had violated the Rules of Professional Conduct, had

conflicts of interest, or had committed legal malpractice. Id. A variety of factors would have to

be examined to determine whether there had been a violation of the Rules of Professional Conduct

or a basis to conclude that a lawyer had committed legal malpractice. And there would need to be

facts to support any claims before they could be asserted in a legal action against a lawyer or a law

firm. Id. Some of the facts would include: whether the representations were concurrent or remote

in time; whether the client(s)' interests were aligned or adverse; whether the client(s) were

informed about the possible conflicts of interest inherent in the representation(s); and whether the

clients agreed to waive the conflicts identified. Exhibit 10, Affidavit of Jeffrey L. Baker, pp. 5-6.

       75.     A reasonable lawyer would not believe that the matters stated in Defendants’

Exhibits C-G represented sufficient facts to bring an action for legal malpractice or breach of

fiduciary duty against Schnader or Mr. Rosenfield. Exhibit 10, Affidavit of Jeffrey L. Baker, p.6.

Instead, a reasonable lawyer would conduct further investigation and discovery to determine

whether there were sufficient facts. Id.

       76.     Nothing in the Exhibits B through G even suggests that Plaintiff or her counsel

were aware of Defendants’ adverse representation of Frances and John in the concealed 2001



                                                 19
       Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 20 of 25




GRAT I transactions, which forms the basis for the claims raised in the SAC. As is described

above, these facts were concealed by Defendants until May 2017.

       77.     Mr. Rosenfield and Schnader represented Anna Nupson (“Anna”) for decades prior

to 2014 and continued to represent her until Anna terminated the representation on September 11,

2014. Exhibit 22, Letter from Anna K. Nupson to Bruce Rosenfield dated September 11, 2014.

       78.     In 2001, Anna was a current Schnader client and she was represented by Mr.

Rosenfield. Exhibit 34, Bruce Rosenfield, MEMORANDUM to FILE RE ANNA MIDDLETON,

dated December 20, 2001.

       79.     Exhibit 34 contains two documents. The first is a Memorandum to File written by

Mr. Rosenfield on December 20, 2001, following a meeting with Anna. In his Memorandum, Mr.

Rosenfield states:

               I told her I thought she had been doing very poorly recently. She
               acknowledged that and told me that she had begun going back to see her
               psychiatrist. She is seeing Dr. Cox again. I asked whether that was the
               best she could be doing, since I thought Dr. Cox had not been that
               effective with her in the past.
                                                     *      *       *
               I told her that we would soon be receiving significant distributions from
               the company. I was offering her the following deal. Assuming she
               continues to see an appropriate psychiatrist and take the appropriate
               medication, at the end of each quarter over the next year I would get her
               a check from her trust for $250,000. The check would be hers exclusively.
               I would be happy to try to help her in dealing with investment advisors
               but that would be her decision. The determinator of what was appropriate
               both in terms of who the doctor was, the number of visits and medication
               would be me.


       The second document in Exhibit 34 is a handwritten letter from Anna to Mr.

Rosenfield dated August 22, 2001 and stamped by Mr. Rosenfield on September 4, 2001

acknowledging its receipt.




                                               20
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 21 of 25




        80.     While Schnader and Mr. Rosenfield still represented Anna, Mr. Rosenfield

represented Anna’s mother, Frances Middleton, and Anna’s brother, John Middleton, in planning

for the creation of an inter vivos trust to transfer Frances’ shares in Bradford Holdings, Inc.

(“BHI”) to John. Exhibit 33, Amended Petition for Adjudication, dated May 1, 2017 (“Amended

Petition”), Rider I.

        81.     According to documents prepared by Schnader, at that time, Frances held 258,029

shares of BHI stock. According to documents prepared by Schnader, 127,854.5 BHI shares were

held by Frances as a joint tenant with her late husband Herbert and passed to her upon Herbert’s

death, and 130,174.5 BHI shares were received by Frances through Herbert’s estate. Exhibit 31,

Original GRAT, Schedule A.

        82.     Mr. Rosenfield prepared trust documents to accomplish the transfer of Frances’

BHI stock to John and forwarded them to Frances and John for their review over the next several

months. Exhibit 33, Amended Petition, Rider I.

        83.     Roy Ross, another Schnader partner, assisted in the drafting of the trust documents

(the “Original GRAT”) to accomplish the transfer. Exhibit 30, Affidavit of Roy Ross (“Ross

Affidavit”), dated December 23, 2016.

        84.     Frances signed the Original GRAT on November 19, 2001, but it was backdated to

February 1, 2001. Exhibit 33, Amended Petition, Rider I, pp. 1-2.

        85.     Mr. Rosenfield witnessed Frances’ and John’s signatures on the backdated Original

GRAT. Exhibit 31, Original GRAT.

        86.     The Original GRAT provided for a two-year annuity to be paid to Frances, with the


                                                21
        Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 22 of 25




remaining assets distributed to a trust for the benefit of John and his family. Exhibit 31, Original

GRAT.

        87.    Herbert’s estate plan provided for his assets to be divided equally among his

children- John, Lucia and Anna- after Frances’ death. Exhibit 35, Herbert’s Will; Exhibit 36,

Summary of Provisions. Exhibit 11, ¶10.

        88.    In 1993, Herbert transferred assets, including his BHI stock, to himself and Frances

as tenants by the entireties. In connection with that transfer, Herbert and Frances executed an

agreement that restricted Frances’ power to transfer the BHI stock after Herbert’s death. Exhibit

37, Agreement dated December 15, 1993 (“TBE Agreement”).

        89.    Mr. Rosenfield was well aware of the terms of the TBE Agreement, Herbert’s Will

and Herbert’s estate plan. Schnader drafted the TBE Agreement and Mr. Rosenfield witnessed

Herbert’s Will.

        90.    The Original GRAT violated Herbert’s estate plan, Herbert’s Will and the TBE

Agreement. The Original GRAT purported to transfer the BHI shares to John alone, and excluded

Herbert’s and Frances’ daughters, Lucia and Anna.

        91.    According to Mr. Rosenfield, after March 2002, Lucia learned about the Original

GRAT, accused John of exerting undue influence over Frances, and demanded that Frances change

the Original GRAT to benefit Lucia and her family. Exhibit 33, Amended Petition, Rider I, p. 2.

        92.    As a result of Lucia’s opposition to the Original GRAT, Frances instructed Mr.

Rosenfield to change the Original GRAT to direct that the BHI stock be distributed to John, Lucia

and Anna in equal shares upon the termination of the Original GRAT term on February 1, 2003.

                                                22
       Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 23 of 25




Exhibit 38, Letter from Frances Middleton to Bruce Rosenfield dated October 10, 2002 letter.

Frances also directed that Mr. Rosenfield overnight a copy of the revised GRAT to Lucia so that

it would be in Lucia’s possession before October 15, 2002. Id.

       93.     By letter dated October 11, 2002, Mr. Rosenfield proposed to Frances and Anna

that he should jointly represent them in “connection with the contemplated family settlement

agreement concerning various disputes within the family.”         Exhibit 39, letter from Bruce

Rosenfield to John Middleton, Frances Middleton and Anna Nupson dated October 11, 2002 letter.

       94.     Mr. Rosenfield’s October 11, 2002 letter stated: “you are each aware that in the

past we have represented each of you individually in estate planning matters and various trusts of

which you are trustees and beneficiaries-- although in this matter John is being represented by

Larry Laubach of Cozen O’Connor.” Exhibit 39.

       95.     Mr. Rosenfield’s October 11, 2002 letter stated: “We believe that Rule 1.7 [of the

Rules of Professional Conduct] does not preclude us from representing either and both of Fran and

Anna in this matter and that the criteria of Rule 1.7(a) are satisfied, provided that we obtain the

consent of each of you.” Exhibit 39.

       96.     Mr. Rosenfield’s October 11, 2002 letter did not disclose his representation of

Frances and John in connection with the Original GRAT and his letter did not disclose that the

Original GRAT transferred Frances’ BHI stock to John alone, in violation of Herbert’s estate plan,

Herbert’s Will and the TBE Agreement. Exhibit 39.

       97.     Mr. Rosenfield jointly represented Anna and France in connection with the 2003

MSA, under which John acquired all of the shares of BHI. Exhibit 39.

                                                23
       Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 24 of 25




       98.     Mr. Rosenfield advised Anna to enter into the 2003 MSA and she did so based on

his advice. Defendants’ Exhibit X, p. 10, ¶ 41.

       99.     Exhibit 40 is a letter from Mr. Rosenfield to Frances dated February 5, 2003. Mr.

Rosenfield’s letter states that it “summarizes the settlement agreement among you, John, Lucia

and Anna and their respective trusts and children who are stockholders of Bradford.” The letter

purports to review the terms of the 2003 MSA and concludes: “These documents are extremely

long and complicated and there are other provisions that may be relevant. However, this provides

a brief summary of those documents.” Exhibit 40, p. 3. Mr. Rosenfield’s February 5, 2003 letter

does not mention the Original GRAT or provide any information that would reveal that there was

an Original GRAT. Id.

       100.    Anna was not sent a copy of Mr. Rosenfield’s February 5, 2003 letter, even though

Mr. Rosenfield jointly represented Frances and Anna in connection with the 2003 MSA. Exhibits

39, 40. Mr. Rosenfield did not send any correspondence to Anna summarizing or explaining the

terms of the 2003 MSA. Exhibit 11, ¶11.

       101.    Had Mr. Rosenfield followed Frances’ October 10, 2002 instructions, Anna would

have received one third of the BHI stock held by Frances. At that time, Frances held 36.3% of the

BHI stock. Exhibit 11, ¶ 12; Exhibit 41.



Dated: July 19, 2019                         Respectfully submitted,

                                             DURHAM, PITTARD & SPALDING, L.L.P.

                                             /s/Justin R. Kaufman
                                             Justin R. Kaufman
                                             505 Cerrillos Road, Suite A209
                                             Santa Fe, NM 87501

                                                  24
Case 2:18-cv-02505-NIQA Document 52 Filed 07/19/19 Page 25 of 25




                             Telephone: (505) 986-0600
                             jkaufman@dpslawgroup.com

                             Brian A. Gordon
                             GORDON & ASHWORTH, P.C.
                             One Belmont Ave., Suite 519
                             Bala Cynwyd, PA 19004
                             Telephone: (610) 667-4500
                             Briangordon249@gmail.com

                             Kimberly Brusuelas
                             5TH STREET LAW
                             312 San Pasquale, NW
                             Albuquerque, NM 87104
                             Telephone: (505) 247-9333
                             kim@fifthstreetlaw.com

                             Attorneys for Plaintiff




                               25
